Feb. 27. 2017 11:28AM, 7-1 SEQ ASSEUS PEERS nbht so Filed 02/28/17 Bad’ Mor #2

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February 27, 2017 e™®

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VIA FACSIMILE

Hon. Cathy Seibel | Poe
U.S. District Judge Pane } cr
Federal Building and United States Courthouse 7 a\

300 Quarropas St.

White Plains, New York 10601-4150

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RE: WATCHTOWER BIBLE AND Tracr SOCIETY OF NEW YORK, INC. V. THE
INTERNATIONAL NICKEL COMPANY, INC. ET AL.,
Civit ACTION No. 15 CV 4306

Dear Judge Seibel:

This is to advise Your Honor that all Parties have now executed their respective signature
pages for the agreed-upon final Settlement Agreement and have consummated the settlement in
this matter.

Again, counsel and the Parties appreciate the Court’s considerations and extensions of
time to consummate the settlement, and thank Your Honor and Magistrate Judge Davison for
assisting the Parties in reaching a resolution of this matter.

Respectfully Yours,

Mop—

Michael W. Peters

cc: Magistrate Judge Paul Davison (via facsimile)
Daniel M. Krainin, Esq. (via email)
Doreen Simmons, Esq. (via email}

(H2999194.1}

 

 
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TRANSMISSION PROBLEMS PLEASE CALL: (518) 449-3125

 

FROM: Michael Peters. Esq. DATE: 212717

 

Re: Watchtower Bible and Tract
Saclety of New York, Inc. v. the
TEL: (518) 449-3125 PAGES: 2 international Nickel Company,
Inc. et all,

Civil Actton No, 15 CV 4306

 

 

 

 

 

 

CONFIRMING
To ‘ COMPANY FAX # TELEPHONE #

 

Hon. Gathy Seibel US District Court (914) 390-4278

 

 

 

 

 

 

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